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                                                     Mahbobeh Razmara
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                                                10
                                                                         UNITED STATES DISTRICT COURT
                                                11
Kazerouni Law Group, APC




                                                                        CENTRAL DISTRICT OF CALIFORNIA
                                                12
                                                     MAHBOBEH RAZMARA,                             Case No: 2:17-cv-04669-ODW-AGR
                       Costa Mesa, California




                                                13   Individually and On Behalf of All
                                                14   Others Similarly Situated,                    NOTICE OF SETTLEMENT ON
                                                                                                   AN INDIVIDUAL BASIS
                                                15                Plaintiff,
                                                                           v.                      Judge: Hon. Otis D. Wright, II
                                                16
                                                17   ZIAI MEHRBANOO, an individual;
                                                     KARINE ASLANIAN, an
                                                18
                                                     individual; ERIC DELGADO, an
                                                19   individual; BENJAMIN
                                                     GRIFFARD, an individual; AGL
                                                20
                                                     BRENTWOOD INC.; JOHNHART
                                                21   CORP A/K/A JOHNHART REAL
                                                     ESTATE; DREAM TEAM REAL
                                                22
                                                     ESTATE CONSULTANTS INC.;
                                                23   and BEST CORE GROUP INC.
                                                     A/K/A PRIME PARTNERS
                                                24
                                                     REALTY,
                                                25
                                                                  Defendants.
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                                                     NOTICE OF SETTLEMENT ON AN INDIVIDUAL BASIS
                                                     CASE NO.: 2:17-cv-04669-ODW-AGR
                                                     Case 2:17-cv-04669-ODW-AGR Document 63 Filed 12/15/17 Page 2 of 2 Page ID #:393



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                                                               TO    THIS     COURT       AND     TO    ALL     PARTIES      AND     THEIR
                                                    2
                                                         RESPECTIVE ATTORNEYS OF RECORD:
                                                    3
                                                               PLEASE TAKE NOTICE that the parties have settled the action on an
                                                    4
                                                         individual basis. Plaintiff therefore respectfully requests that the Court vacate all
                                                    5
                                                         pending deadlines and permit the parties until January 26, 2018, to file the
                                                    6
                                                         necessary dismissal papers.
                                                    7
                                                    8
                                                    9
                                                         Date: December 15, 2017                       Respectfully submitted,
Kazerouni Law Group, APC




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                                                                                                       KAZEROUNI LAW GROUP, APC
                           Costa Mesa, California




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                                                                                                       By: s/ Jason A. Ibey
                                                    14                                                      Jason A. Ibey, Esq.
                                                    15                                                      Attorney for Plaintiff

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                                                         NOTICE OF SETTLEMENT ON AN INDIVIDUAL BASIS
                                                         CASE NO.: 2:17-cv-04669-ODW-AGR       1
